Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 1 of 27 PageID: 2071




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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  DONALD J. TRUMP FOR
  PRESIDENT, INC., REPUBLICAN
  NATIONAL COMMITTEE, NEW
  JERSEY REPUBLICAN STATE
  COMMITTEE,                              No. 3:20-cv-10753-MAS-ZNQ
                  Plaintiffs,
        v.                                    PLAINTIFFS’ BRIEF IN
                                          OPPOSITION TO INTERVENORS’
  TAHESHA WAY, in her official                MOTION TO DISMISS
  capacity as Secretary of State of New
  Jersey,
                  Defendant.
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 2 of 27 PageID: 2072




                                         TABLE OF CONTENTS

 TABLE OF AUTHORITIES .................................................................................... ii

 INTRODUCTION .................................................................................................... 1

 ARGUMENT............................................................................................................ 1

    I. Plaintiffs have standing. ................................................................................. 1

         A. Plaintiffs have direct organizational standing. .......................................... 2

         B. Plaintiffs have representational standing. ................................................. 5

    II. Plaintiffs adequately allege that A4475 violates federal law. ...................... 12

         A. Pre-Election Day ballot counting and acceptance of non-postmarked
              ballots two days after Election Day conflict with federal law. ............... 13

         B. Plaintiffs adequately allege a vote dilution claim. .................................. 14

         C. Plaintiffs adequately allege that A4475 will result in arbitrary and
              disparate procedures in violation of the right to vote. ............................. 18

 CONCLUSION ...................................................................................................... 21




                                                             i
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 3 of 27 PageID: 2073




                                        TABLE OF AUTHORITIES

 CASES

 Abigail All. for Better Access to Developmental Drugs v. Eschenbach,
     469 F.3d 129 (D.C. Cir. 2006) .......................................................................... 3

 Alvarez v. Smith, 558 U.S. 87 (2009) ..................................................................... 6

 Arcia v. Fla. Sec’y of State, 772 F.3d 1335 (11th Cir. 2014) ................................. 3

 Ashcroft v. Iqbal, 556 U.S. 662 (2009) ........................................................... 13, 21

 Baker v. Carr, 369 U.S. 186 (1962) ................................................................. 6, 12

 Blunt v. Lower Merion Sch. Dist., 767 F.3d 247 (3d Cir. 2014) ........................ 3, 4

 Bush v. Gore, 531 U.S. 98 (2000) ................................................................. passim

 Clapper v. Amnesty Int’l, 568 U.S. 398 (2013) ...................................................... 8

 Common Cause of Pennsylvania v. Pennsylvania, 558 F.3d 249 (3d
     Cir. 2009)........................................................................................................... 2

 Constitution Party of Pennsylvania v. Aichele, 757 F.3d 347 (3d Cir.
     2014) .................................................................................................................. 2

 Crawford v. Marion Cty. Election Bd., 472 F.3d 949 (7th Cir. 2007) ......... 3, 4, 14

 DCCC v. Ziriax, 2020 WL 5569576 (N.D. Okla. Sept. 17, 2020) ....................... 11

 Disability Rights Pennsylvania v. Pennsylvania Dep't of Human
     Servs., 2020 WL 1491186 (M.D. Pa. Mar. 27, 2020) ................................... 3, 5

 Doe v. Univ. of Scis., 961 F.3d 203 (3d Cir. 2020) ........................................ 13, 18

 Donald J. Trump for President, Inc. v. Bullock, 2020 WL 5810556 (D.
     Mont. Sept. 30, 2020) ........................................................................ 4, 7, 11, 12


                                                                 ii
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 4 of 27 PageID: 2074




 Fair Maps Nevada v. Cegavske, 2020 WL 2798018 (D. Nev. May 29,
     2020) ................................................................................................................ 16

 Federal Election Comm’n v. Akins, 524 U.S. 11 (1998) .................................. 7, 12

 Fla. State Conference of N.A.A.C.P. v. Browning, 569 F. Supp. 2d
     1237 (N.D. Fla. 2008) ..................................................................................... 17

 Gill v. Whitford, 138 S. Ct. 1916 (2018) .............................................. 9, 10, 15, 16

 Griffin v. Roupas, 385 F.3d 1128 (7th Cir. 2004) ................................................ 18

 Judicial Watch, Inc. v. King, 993 F. Supp. 2d 919 (S.D. Ind. 2012) .................... 16

 League of Women Voters of Ohio v. Brunner, 548 F.3d 463 (6th Cir.
     2008) ................................................................................................................ 18

 Millsaps v. Thompson, 259 F.3d 535 (6th Cir. 2001) ......................................... 6, 7

 New Jersey Civil Justice Inst. v. Grewal, 2020 WL 4188129 (D.N.J.
     July 21, 2020) ............................................................................................ 2, 3, 5

 Novak v. United States, 795 F.3d 1012 (9th Cir. 2015) .................................... 6, 12

 Pa. Psychiatric Soc’y v. Green Spring Health Servs., Inc., 280 F.3d
     278 (3d Cir. 2002) ........................................................................................... 11

 Scott v. Schedler, 771 F.3d 831 (5th Cir. 2014) ..................................................... 3

 Sikkelee v. Precision Airmotive Corp., 822 F.3d 680 (3d Cir. 2016) ................... 14

 Smiley v. Holm, 285 U.S. 355 (1932) ..................................................................... 7

 Susan B. Anthony List v. Driehaus, 573 U.S. 149 (2014) ...................................... 8

 Voting Integrity Project, Inc. v. Bomer, 199 F.3d 773 (5th Cir. 2000) .................. 6

 Winer Family Tr. v. Queen, 503 F.3d 319 (3d Cir. 2007) ...................................... 2



                                                                iii
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 5 of 27 PageID: 2075




 STATUTES

 3 U.S.C. §1 ........................................................................................................... 13

 N.J. Stat. §19:63-31 ........................................................................................ 14, 19

 OTHER AUTHORITIES

 Colleen O’Dea, Why So Many Mail-In Ballots Were Rejected in NJ’s
     July Primary Election. Hint: Many Arrived Late, N.J. Spotlight
     (Sept. 10, 2020) ................................................................................... 19, 20, 21

 Karin Price Mueller, If you vote in person on Election Day, your vote
     probably won’t be counted until Nov. 10 in N.J. Here’s why,
     NJ.com (Oct. 5, 2020) ..................................................................................... 19

 Neil Vigdor, A New Jersey postal worker was arrested after he threw
     away nearly 100 blank ballots, prosecutors say, N.Y. Times (Oct.
     7, 2020) .............................................................................................................. 8

 President Jimmy Carter & Secretary of State James Baker, Report of
     the Commission on Federal Election Reform, Building Confidence
     in U.S. Elections (Sept. 2005) ......................................................................... 17




                                                                iv
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 6 of 27 PageID: 2076




                                  INTRODUCTION

         Donald J. Trump for President, Inc., the Republican National Committee, and

 the New Jersey Republican State Committee have challenged A4475, a hastily

 enacted bill that transforms how New Jersey will conduct its November 2020 general

 election. A4475 conflicts with federal law by altering the timing of the federal

 election, and violates the Constitution by enabling fraud that will dilute legitimately

 cast votes and rendering non-arbitrary counting of ballots impossible.

         In response, the DCCC has moved to dismiss Plaintiffs’ amended complaint,

 asserting that Plaintiffs’ claims allege no judicially cognizable harms supporting

 standing and fail to state claims that survive Rule 12(b)(6)’s pleading standards. But

 Plaintiffs’ claims specifically demonstrate how A4475 transgresses long-established

 federal statutory and constitutional requirements. And for each of those claims,

 Plaintiffs have adequately alleged multiple independently sufficient grounds for

 standing and sufficient facts establishing violations of their constitutionally and

 statutorily protected rights. Accordingly, the Court should deny Intervenors’ motion

 to dismiss.

                                     ARGUMENT

    I.      Plaintiffs have standing.

         “Constitutional standing requires: (1) an injury-in-fact, which is an invasion

 of a legally protected interest that is (a) concrete and particularized, and (b) actual


                                             1
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 7 of 27 PageID: 2077




 or imminent, not conjectural or hypothetical; (2) a causal connection between the

 injury and the conduct complained of; and (3) that it must be likely, as opposed to

 merely speculative, that the injury will be redressed by a favorable decision.” Winer

 Family Tr. v. Queen, 503 F.3d 319, 325 (3d Cir. 2007) (citing Danvers Motor Co.,

 Inc. v. Ford Motor Co., 432 F.3d 286, 290-91 (3d Cir. 2005)). “In reviewing [this]

 facial attack” on Plaintiffs’ standing, the Court must consider the facts “in the light

 most favorable to the plaintiff” and “constru[e] the alleged facts in favor of the non-

 moving party.” Constitution Party of Pennsylvania v. Aichele, 757 F.3d 347, 358 (3d

 Cir. 2014) (internal quotation marks omitted). And “because the Court is addressing

 a factual challenge to subject-matter jurisdiction, it may consider facts outside of the

 pleadings,” including declarations filed in response to other motions. New Jersey

 Civil Justice Inst. v. Grewal, 2020 WL 4188129, at *3 & n.2 (D.N.J. July 21, 2020).

        “An organization or association may have standing to bring suit under two

 circumstances.” Common Cause of Pa. v. Pennsylvania, 558 F.3d 249, 261 (3d Cir.

 2009) (cleaned up). An organizational plaintiff has standing to challenge laws that

 harm itself directly, and laws that harm its members. Id. Plaintiffs have both types

 of standing here.

        A. Plaintiffs have direct organizational standing.

       “An entity has direct organizational standing when the organization itself

 suffers injuries as a result of the defendant’s allegedly unlawful conduct.” New


                                             2
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 8 of 27 PageID: 2078




 Jersey Civil Justice, 2020 WL 4188129, at *3. “This may occur, for example, when

 an organization must divert its resources to counteract the allegedly unlawful

 conduct.” Id. Applied here, a political party suffers a viable diversion-of-resources

 injury even if “the added cost has not been estimated and may be slight,” because

 standing “requires only a minimal showing of injury.” Crawford v. Marion Cty.

 Election Bd., 472 F.3d 949, 951 (7th Cir. 2007), aff’d 553 U.S. 181, 189 (2008).

 “[T]he relevant question [is] whether the organization had diverted resources it

 might use elsewhere.” Disability Rights Pa. v. Pa. Dep’t of Human Servs., 2020 WL

 1491186, at *5 (M.D. Pa. Mar. 27, 2020) (citing Blunt v. Lower Merion Sch. Dist.,

 767 F.3d 247, 312-13 (3d Cir. 2014)); see also, e.g., Arcia v. Fla. Sec’y of State, 772

 F.3d 1335, 1341 (11th Cir. 2014); Scott v. Schedler, 771 F.3d 831, 837 (5th Cir.

 2014); Abigail All. for Better Access to Developmental Drugs v. Eschenbach, 469

 F.3d 129, 132-33 (D.C. Cir. 2006).

       Plaintiffs readily clear that low threshold. In their amended complaint,

 Plaintiffs allege that “A4475 forces [them] to divert resources and spend significant

 amounts of money educating voters on” the changes made by A4475 “and

 encouraging them to vote regardless.” Doc. 33 ¶¶ 13, 16. A4475 thus injures

 Plaintiffs by compelling them “to devote resources to getting to the polls those of its

 supporters who would otherwise be discouraged by the new law from bothering to

 vote.” Crawford, 472 F.3d at 951; see also 553 U.S. at 189 n.7 (“We also agree with


                                             3
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 9 of 27 PageID: 2079




 the unanimous view of [the Seventh Circuit] that the Democrats have standing to

 challenge the validity of [the election law] and that there is no need to decide whether

 the other petitioners also have standing.”); see Donald J. Trump for President, Inc.

 v. Bullock, 2020 WL 5810556, at *7-8 (D. Mont. Sept. 30, 2020) (finding

 organizational standing because the challenged law impacted “the Organizational

 Plaintiffs’ purpose of educating Republican voters—especially those who wish to

 vote in person—on available voting opportunities is necessarily impacted by the

 Directive”).

       Intervenors’ only answer is to ignore these specific allegations of resource

 diversion and baldly assert that Plaintiffs “fail to allege why or how they would need

 to divert resources to address the Election Law.” Doc 71, at 9. But Plaintiffs walk

 through how several separate provisions of A4475’s “sweeping changes” cause voter

 confusion and allege that they must expend additional resources to remedy this

 confusion amongst their voters. See Doc. 33 ¶¶13, 76-90 (detailing past confusion

 and alleging A4475 will exacerbate this confusion). Thus, Plaintiffs have “show[n]

 that they would have suffered some other injury if [they] had not diverted resources

 to counteracting the problem.” Blunt, 767 F.3d at 285 (internal quotation marks

 omitted). These concrete resource-allocation harms “‘perceptibly impair[]’

 [Plaintiffs’] ability to provide [their] primary services [and] and carry out [their]

 mission and have resulted in a diversion of resources.” Disability Rights, 2020 WL


                                             4
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 10 of 27 PageID: 2080




  1491186, at *5 (quoting Blunt, 767 F.3d at 308); see also New Jersey Civil Justice,

  2020 WL 4188129, at *3.

        Plaintiffs’ declarations erase any lingering doubt. See New Jersey Civil

  Justice, 2020 WL 4188129, at *3 (considering declarations in a motion to dismiss

  based on standing). Those declarations aver in detail how A4475 forces Plaintiffs to

  divert funds and resources from other programs because of A4475’s changes to

  ballot counting. Doc. 63-1 ¶¶5-6, 9-13; Doc. 63-2 ¶¶5, 8-10; Doc. 63-3, ¶¶7-8. And

  Plaintiffs have had to divert funds and resources away from other programs—such

  as persuasion-based advertising, yard signs, and hiring additional staff—so they can

  focus on educating their voters on how to vote in a universal vote-by-mail election.

  Steinhardt 2nd Declaration ¶¶ 3-8. The Court has already explained these harms are

  sufficient to establish standing. Doc. 75, at 10 (explaining that an organization has

  standing when it “must divert its resources to counteract unlawful conduct.”). DCCC

  is thus wrong (at 9) that Plaintiffs have not explained how A4475 “will cause

  Plaintiffs to expend additional resources.”

         B. Plaintiffs have representational standing.

        The Plaintiffs also have standing on behalf of their members, who have

  standing in their own right to challenge A4475. See New Jersey Civil Justice, 2020

  WL 4188129, at *3-4. To start with, DCCC’s claim otherwise cannot be squared

  with the many cases where voters have challenged various election laws as


                                                5
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 11 of 27 PageID: 2081




  inconsistent with Congress’s choice to create a single Election Day. Foremost, the

  Supreme Court affirmed injunctive relief in Foster v. Love for “Louisiana voters

  who sued … the State’s Governor and secretary of state, challenging the open

  primary as a violation of federal law.” 522 U.S. 67, 70 (1997). The courts of appeals

  have reached the merits of similar challenges. See Millsaps v. Thompson, 259 F.3d

  535, 536 (6th Cir. 2001); Voting Integrity Project, Inc. v. Keisling, 259 F.3d 1169,

  1174 (9th Cir. 2001); Voting Integrity Project, Inc. v. Bomer, 199 F.3d 773, 774 (5th

  Cir. 2000). Adopting Defendant’s position here would mean that the Supreme

  Court’s pathmarking decision in Foster and all those cases that followed it were

  disputes “abstracted from any concrete actual or threatened harm.” Alvarez v. Smith,

  558 U.S. 87, 93 (2009).

        The DCCC’s contention (at 10) that Plaintiffs’ injury is simply an abstract

  desire to see the law followed likewise cannot be squared with these precedents. The

  Court has “squarely held that voters who allege facts showing disadvantage to

  themselves as individuals have standing to sue,” Baker v. Carr, 369 U.S. 186, 206

  (1962), and the fact that “a harm is widely shared does not necessarily render it a

  generalized grievance,” Novak v. United States, 795 F.3d 1012, 1018 (9th Cir. 2015)

  (quotation marks omitted). Rather, “where a harm is concrete, though widely shared,

  the Court has found injury in fact.” Federal Election Comm’n v. Akins, 524 U.S. 11,

  24 (1998); see also Bullock, 2020 WL 5810556, at *7 (“Because the alleged injuries


                                             6
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 12 of 27 PageID: 2082




  to the members’ voting rights at issue in this case could conceivably be asserted by

  any Montanan does not eradicate the standing necessary to assert these claims. On

  the contrary, the Supreme Court has repeatedly enumerated the principle that claims

  alleging a violation of the right to vote can constitute an injury in fact despite the

  widespread reach of the conduct at issue.”). Indeed, the “Supreme Court has been

  clear that ‘where large numbers of voters suffer interference with voting rights’ the

  interests related to that are sufficiently concrete to obtain the standing necessary to

  seek redress in an Article III Court.” Id. at *7 (quoting Akins, 524 U.S. at 24). The

  DCCC’s contention that Plaintiffs assert only an abstract injury thus cannot be right.

        Quite the contrary, voters have a personal interest in ensuring that Congress’s

  choice is respected. The federal laws establishing a uniform Election Day are

  “safeguards which experience shows are necessary in order to enforce the

  fundamental right involved.” Smiley v. Holm, 285 U.S. 355, 366 (1932). Courts that

  have considered the issue have recognized that a uniform Election Day was meant

  to alleviate widespread disenfranchisement, hardship on voters, and fraud that was

  caused by the practice of multi-day voting. See Foster, 522 U.S. at 73-74; Millsaps,

  259 F.3d at 541-43; Keisling, 259 F.3d at 1174 (“Whenever you provide that

  elections shall take place upon the same day, you do interpose a not inconsiderable

  check to frauds in elections, to double voting, to the transmission of voters from one

  State to another, and you do allow the people to vote for their Representatives


                                              7
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 13 of 27 PageID: 2083




  undisturbed by considerations which they ought not to take at all into account.”

  (quoting Cong. Globe, 42d Cong., 2d Sess. 618 (1872))). It is thus unsurprising that

  no appellate court has questioned voters’ standing to challenge state laws as violating

  Congress’s choice because that choice has always been understood to protect the

  fundamental right to vote.

         A4475’s new rules injure Plaintiffs in precisely the way that Congress sought

  to prevent. First, counting ballots 10 days before Election Day substantially

  increases the risk of early vote counts becoming public. Defendants’ only response

  is to point out that New Jersey law makes it illegal to release early vote counts, so

  the parties can safely assume no such leaks will occur. Doc. 71-1, at 11. But that

  ignores Plaintiffs’ specific allegations regarding New Jersey’s well-documented

  (and regrettable) history of election fraud. See, e.g., Doc. No. 33 ¶¶ 76-97.1

  Ultimately, Defendants are asking the Court to “require plaintiffs to demonstrate that

  it is literally certain that the harms they identify will come about.” Clapper v.

  Amnesty Int’l USA, 568 U.S. 398, 414 n.5 (2013). But plaintiffs need only allege that

  “there is a substantial risk that the harm will occur.” Susan B. Anthony List v.

  Driehaus, 573 U.S. 149, 158 (2014) (cleaned up). Given New Jersey’s unfortunate

  history, there is at least a “substantial risk” here.

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    Unfortunately, this record has grown since Plaintiffs filed their complaint. On October 7, a
  Newark postal worker was charged with willfully discarding hundreds of ballots and other
  campaign materials. See Neil Vigdor, A New Jersey postal worker was arrested after he threw
  away nearly 100 blank ballots, prosecutors say, N.Y. Times (Oct. 7, 2020).

                                                 8
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 14 of 27 PageID: 2084




        Second, permitting ballots to be cast after Election Day and New Jersey’s shift

  to universal vote by mail will dilute the votes of Plaintiffs’ members. DCCC

  categorically assert that vote dilution is not a cognizable injury in fact outside narrow

  circumstances. Doc. 71-1, at 11-12. That is ultimately a merits question. See infra

  13-17. But in any event, vote dilution is indisputably an injury in fact: The “right to

  vote is ‘individual and personal in nature.’” Gill v. Whitford, 138 S. Ct. 1916, 1929

  (2018) (quoting Reynolds v. Sims, 377 U.S. 533, 561 (1964)). “Thus, ‘voters who

  allege facts showing disadvantage to themselves as individuals have standing to sue’

  to remedy that disadvantage.” Id. (quoting Baker, 369 U.S. at 206). And the “‘right

  of suffrage can be denied by a debasement or dilution of the weight of a citizen’s

  vote just as effectively as by wholly prohibiting the free exercise of the franchise.’”

  Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (quoting Reynolds, 377 U.S. at 555));

  Reynolds, 377 U.S. at 555 n.29 (“[T]he right to have the vote counted” means

  counted “at full value without dilution or discount.” (quotation marks omitted)). See

  also Dep’t of Commerce v. U.S. House of Representatives, 525 U.S. 316, 331-32

  (1999); Gill, 138 S. Ct. at 1920; Bush v. Gore, 531 U.S. 98, 105 (2000) (per curiam).

  Nor do they contest that a ballot cast after Election Day would cause vote dilution.

  Instead, they argue that the risk of this injury is speculative. But Plaintiffs have

  specifically alleged that non-postmarked ballots can be sent the day after the election

  and be counted as a legitimate vote in violation of federal election laws and backed


                                               9
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 15 of 27 PageID: 2085




  up this allegation by reference to the Postal Service’s own public documents. Doc.

  33 ¶108 (citing U.S. Postal Serv., FAQs: What are the Types of First-Class Mail?,

  Article No. 000003138 (Jan. 26, 2020), https://bit.ly/2EyfERB). Indeed, a special

  master in Pennsylvania just found that 98% of USPS presorted first class mail were

  delivered “within 1 day.” Crossey v. Boockvar, 266 M.D. 2020, at 26 ¶12

  (Recommended Findings of Fact and Conclusions of Law of President Judge Mary

  Hannah Leavitt, Special Master).

        Third, conducting a universal-vote-by-mail election will substantially

  increase the risk of voter fraud and dilution. Again, vote dilution is indisputably an

  injury in fact: The “right to vote is ‘individual and personal in nature.’” Gill, 138 S.

  Ct. at 1929 (quoting Reynolds, 377 U.S. at 561). “Thus, ‘voters who allege facts

  showing disadvantage to themselves as individuals have standing to sue’ to remedy

  that disadvantage.” Id. (quoting Baker, 369 U.S. at 206). And the “‘right of suffrage

  can be denied by a debasement or dilution of the weight of a citizen’s vote just as

  effectively as by wholly prohibiting the free exercise of the franchise.” Purcell, 549

  U.S. at 4 (quoting Reynolds, 377 U.S. at 555)); Reynolds, 377 U.S. at 555 n.29

  (“[T]he right to have the vote counted” means counted “at full value without dilution

  or discount.” (quotation marks omitted)). See also Dep’t of Commerce v. U.S. House

  of Representatives, 525 U.S. 316, 331-32 (1999); Gill, 138 S. Ct. at 1929-30; Bush,

  531 U.S. at 105. Thus, because Plaintiffs’ members have standing in their own right,


                                              10
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 16 of 27 PageID: 2086




  their interests are germane to those of the organizations, and the members are not

  necessary parties, Plaintiffs have representational standing to pursue these vote

  dilution claims. See Pa. Psychiatric Soc’y v. Green Spring Health Servs., Inc., 280

  F.3d 278, 283 (3d Cir. 2002) (citing Hunt v. Washington State Apple Advertising

  Comm’n, 432 U.S. 333, 343 (1977)).

        This injury is not “conjectural” or “speculative.” Doc. 71, at 11. Millions of

  ballots will leave election officials’ custody and, just like in the July primary (Doc.

  33 ¶¶ 87-90; Doc. 35-1, at 4-5), only a fraction of those will be cast as ballots. That

  means there will be scores of ballots that can be improperly and unlawfully

  repurposed (as they were in the May election, see Doc. 33 ¶¶ 81-86) for a particular

  candidate. The amended complaint outlines in detail how New Jersey’s past means

  this injury is likely to recur, and it confirms that there is a “substantial risk” that

  A4475 will facilitate fraudulent voting. See Doc. 33 ¶¶ 76-97; Bullock, 2020 WL

  5810556, at *4, *6-*7 & n.4 (holding that individual voters had standing to bring

  dilution claim on the grounds that it would “open[] the door to voter fraud,” among

  other grounds). Indeed, another federal district court recently declined to impose a

  deeming provision like that found in A4475 after finding that it “would present a

  significant risk of voting fraud.” See DCCC v. Ziriax, 2020 WL 5569576, at *10

  (N.D. Okla. Sept. 17, 2020) (“The Court has serious concerns that the plaintiffs’

  requested remedy – imposing a presumption that a ballot without a postmark was


                                             11
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 17 of 27 PageID: 2087




  postmarked by election day and requiring that such vote be counted if received up

  to a week after election day – would present a significant risk of voting fraud. Under

  that proposal, ballots could be mailed after election day and would be counted. As a

  result, the Court finds that remedy to be untenable and unreasonably risky.”).

           Nor is this harm some “generalized grievance.” Doc. 71, at 10. The Supreme

  Court has “squarely held that voters who allege facts showing disadvantage to

  themselves as individuals have standing to sue,” Baker, 369 U.S. at 206, and the fact

  that “a harm is widely shared does not necessarily render it a generalized grievance,”

  Novak, 795 F.3d at 1018 (quotation marks omitted). Rather, “where a harm is

  concrete, though widely shared, the Court has found injury in fact.” Akins, 524 U.S.

  at 24. For that reason, the fact that “the alleged injuries to the members’ voting rights

  at issue in this case could conceivably be asserted by any [New Jerseyan] does not

  eradicate the standing necessary to assert these claims.” Bullock, 2020 WL 5810556,

  at *7. Indeed, “the Supreme Court has been clear that ‘where large numbers of voters

  suffer interference with voting rights’ the interests related to that are sufficiently

  concrete to obtain the standing necessary to seek redress in an Article III Court.” Id.

  (quoting Akins, 524 U.S. at 24).

     II.      Plaintiffs adequately allege that A4475 violates federal law.

           A Plaintiff is required only to provide a complaint that contains “a short and

  plain statement of the claim showing that the pleader is entitled to relief.” Doe v.


                                              12
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 18 of 27 PageID: 2088




  Univ. of Scis., 961 F.3d 203, 208 (3d Cir. 2020). “The complaint must set forth

  enough factual allegations to ‘state a claim to relief that is plausible on its face.’” Id.

  And “[a] facially plausible claim is one that permits a reasonable inference that the

  defendant is liable for the misconduct alleged.” Id. (citing Ashcroft v. Iqbal, 556 U.S.

  662, 678 (2009)).

         A. Pre-Election Day ballot counting and acceptance of non-postmarked
            ballots two days after Election Day conflict with federal law.

         In its order denying Plaintiffs’ preliminary injunction motion, this Court held

  that A4475 does not conflict with the federal statutes establishing a uniform Election

  Day. Doc. 75, at 17, 23-25. Plaintiffs continue to believe that A4475 conflicts with

  these federal statues by allowing vote counting before Election Day and counting of

  ballots that have been cast after Election Day. To recap, first, the text and structure

  of the federal laws setting a uniform Election Day confirm that New Jersey cannot

  begin counting ballots 10 days before November 3. Doc. 35-1, at 18-19. And if there

  were any doubt, the statutes’ purpose erases it: The specific evil Congress sought to

  remedy was the practice of multi-day voting, with early counted ballots influencing

  voters who had yet to cast their ballot and risking fraud. Id. at 3-4. Counting ballots

  early runs directly contrary to those purposes. Second, Federal law also preempts

  A4475’s authorization of counting votes that may have been cast after Election Day.

  Doc. 35-1, at 17-24. No party contests that 3 U.S.C. §1 prohibits the counting of

  ballots that were cast after Election Day. But that is precisely what New Jersey has

                                               13
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 19 of 27 PageID: 2089




  done in enacting A4475. Id. The statute provides that “every ballot without a

  postmark … that is received by the county boards of elections from the United States

  Postal Service within 48 hours of the closing of polls … shall be considered valid

  and shall be canvassed.” A4475 §2(m) (codified at N.J. Stat. §19:63-31(m)). In other

  words, A4475 requires election officials to count votes that could have been cast

  after Election Day because, without a postmark, those officials have no way of

  confirming when a ballot has been cast. This directive to count ballots regardless of

  whether they were cast after the uniform Election Day “conflicts with federal law

  such that compliance with both state and federal regulations is impossible,” Sikkelee

  v. Precision Airmotive Corp., 822 F.3d 680, 688 (3d Cir. 2016), infringes upon

  Plaintiffs’ fundamental right to vote, and is therefore “is void,” Foster, 522 U.S. at

  74.

        B.     Plaintiffs adequately allege a vote dilution claim.

        Intervenors argue Plaintiffs have failed to state a dilution claim on the merits

  and, even if they have, the factual allegations do not support the claim. Neither

  argument is correct.

        To start, “voting fraud impairs the right of legitimate voters to vote by diluting

  their votes” and “dilution [is] recognized to be an impairment of the right to vote.”

  Crawford, 472 F.3d at 952. The DCCC responds that “[v]ote dilution based on the

  potential for voter fraud, however, is not a cognizable claim.” Doc. 71 at 21-22. But


                                             14
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 20 of 27 PageID: 2090




  the DCCC’s view does not properly account for the Supreme Court’s most recent

  case about vote-dilution claims. In Gill v. Whitford, the Court addressed whether

  plaintiffs had standing to challenge legislative districts as political gerrymanders.

  See 138 S. Ct. at 1929-33. It ultimately held that the plaintiffs there had not

  established standing because they failed to introduce evidence at trial that they lived

  in a politically gerrymandered district. Id. at 1931-32.

        In so doing, however, the Court emphasized that “a person’s right to vote is

  ‘individual and personal in nature,’” id. at 1929 (quoting Reynolds, 377 U.S. at 561),

  such that “‘voters who allege facts showing disadvantage to themselves as

  individuals have standing to sue’ to remedy that disadvantage,” id. (quoting Baker,

  369 U.S. at 206). To avoid confusion, it repeated that “the holdings in Baker and

  Reynolds were expressly premised on the understanding that the injuries giving rise

  to those claims were ‘individual and personal in nature,’” id. at 1930 (quoting

  Reynolds, 377 U.S. at 561), “because the claims were brought by voters who alleged

  ‘facts showing disadvantage to themselves as individuals,’” id. (quoting Baker, 369

  U.S. at 206). Gill is no isolated instance. See also Bush, 531 U.S. at 105 (“[T]he right

  of suffrage can be denied by a debasement or dilution of the weight of a citizen’s

  vote just as effectively as by wholly prohibiting the free exercise of the franchise.”

  (quoting Reynolds, 377 U.S. at 555)); see also Fair Maps Nevada v. Cegavske, 2020

  WL 2798018, at *17 (D. Nev. May 29, 2020) (“Abridgement or dilution of a right


                                              15
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 21 of 27 PageID: 2091




  so fundamental as the right to vote constitutes irreparable injury.”).

        The Court’s repeated, unmistakable focus on individual voting rights as the

  basis for vote-dilution claims makes clear that the racial-gerrymandering and one-

  person, one-vote cases discussed in Gill and cited by DCCC are examples of—not

  limits on—cognizable vote-dilution claims. “Thus, ‘voters who allege facts showing

  disadvantage to themselves as individuals’”—be it from malapportioned districts or

  racial gerrymanders or voter fraud may seek “to remedy that disadvantage” in federal

  court. Gill, 138 S. Ct. at 1929 (quoting Baker, 369 U.S. at 206). Because a “state

  has a legitimate interest in preventing that harm from occurring, surely a voter who

  alleges that such harm has befallen him or her has standing to redress the cause of

  that harm.” Judicial Watch, Inc. v. King, 993 F. Supp. 2d 919, 924 (S.D. Ind. 2012).

        DCCC next asserts (at 21) that Plaintiffs’ vote dilution claim is “speculative.”

  But Plaintiffs extensively detail how A4475’s provision for the “automatic mailing

  ballots to all active voters and makes voter fraud and other ineligible voting

  inevitable—especially given New Jersey’s rampant history of voter fraud.” Doc. 33

  ¶ 119. Plaintiffs specifically allege facts regarding past voter fraud in New Jersey—

  as recently as this year—to demonstrate that New Jersey’s new universal vote-by-

  mail election will facilitate precisely the type of fraud that has long plagued New

  Jersey and diluted its citizens’ votes. Doc. 33 ¶¶ 47-48, 76-90. Given New Jersey’s

  long and lamentable history of voter fraud, if anything is speculative, it is the


                                             16
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 22 of 27 PageID: 2092




  DCCC’s suggestion that New Jersey will experience no voter fraud in the November

  general. Put simply, Plaintiffs have alleged all that is needed at this stage. Cf. Fla.

  State Conference of N.A.A.C.P. v. Browning, 569 F. Supp. 2d 1237, 1251–52 (N.D.

  Fla. 2008) (“In Crawford, the lead opinion cited historical examples of in-person

  vote fraud, occasional examples in recent times of in-person fraud in other parts of

  the country, and recent absentee-ballot fraud in Indiana itself.”).

        Plaintiffs also allege other historical examples of mail-ballot problems and

  pointed to bipartisan studies in the Amended Complaint that support their vote

  dilution claim. Doc. 33 ¶¶ 19-30, 36-45. In particular, the bipartisan Carter-Baker

  Report observed that absentee voting is “the largest source of potential voter fraud.”

  Doc. 33 ¶19 (quoting President Jimmy Carter & Secretary of State James Baker,

  Report of the Commission on Federal Election Reform, Building Confidence in U.S.

  Elections 46 (Sept. 2005), https://bit.ly/3dXH7rU (Carter-Baker Report). “Absentee

  balloting is vulnerable to abuse in several ways”; ballots are sometimes mailed to

  the wrong address or to large residential buildings” and “might get intercepted.”

  Carter-Baker Report 46. Moreover, voters “who vote at home, at nursing homes, at

  the workplace, or in a church are more susceptible to pressure, overt and subtle, or

  to intimidation.” Id. And “[v]ote buying schemes are far more difficult to detect

  when citizens vote by mail.” Id. For these reasons, placing millions of ballots in the

  mail and outside of election officials’ control only increases the risk of voter fraud.


                                             17
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 23 of 27 PageID: 2093




  See also Griffin v. Roupas, 385 F.3d 1128, 1131 (7th Cir. 2004) (“[A]bsentee voting

  is to voting in person as a take-home exam is to a proctored one.”).

        The DCCC ultimately demands that Plaintiffs’ allegations establish with

  certainty that voter fraud will occur. That is not the standard for a motion to dismiss.

  Plaintiffs must only “set forth enough factual allegations to ‘state a claim to relief

  that is plausible on its face.’” Univ. of Scis., 961 F.3d at 208. The Amended

  Complaint’s allegations far exceed that bar.

        C.     Plaintiffs adequately allege that A4475 will result in arbitrary and
               disparate procedures in violation of the right to vote.

        Plaintiffs have adequately alleged that A4475 violates their rights under the

  Equal Protection Clause. “The right to vote is protected in more than the initial

  allocation of the franchise. Equal protection applies as well to the manner of its

  exercise.” Bush, 531 U.S. at 104-05. For that reason, a “State may not, by later

  arbitrary and disparate treatment, value one person’s vote over that of another.” Id.

  In particular, the Equal Protection Clause imposes a “minimum requirement for

  nonarbitrary treatment of voters” and forbids voting systems and practices that

  distribute resources in “standardless” fashion, without “specific rules designed to

  ensure uniform treatment.” Id. at 105-07; see also League of Women Voters of Ohio

  v. Brunner, 548 F.3d 463, 477-78 (6th Cir. 2008) (“[T]he use of standardless manual

  recounts’ violates the Equal Protection Clause.”). As a result, the Supreme Court has

  instructed that the “formulation of uniform rules” is “necessary” because the “want

                                              18
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 24 of 27 PageID: 2094




  of” such rule may lead to “unequal evaluation of ballots.” Bush, 531 U.S. at 106.

        A4475 ensures that there will not be “uniform rules” for voters in the

  upcoming election. A4475 requires that every in-person voter cast a provision ballot,

  see N.J. Stat. §§19:63-31(g), which means that every such voter will be forced to

  follow the statutory procedure for voting provisionally. And by deeming every in-

  person ballot a provisional one, A4475 will massively increase the number of

  provisional ballots that must be processed. Indeed, in the July primary alone, nearly

  200,000 provisional ballots were cast, 12% of all votes. Colleen O’Dea, Why So

  Many Mail-In Ballots Were Rejected in NJ’s July Primary Election. Hint: Many

  Arrived Late, N.J. Spotlight (Sept. 10, 2020), https://bit.ly/33Eo83k. Moreover,

  demonstrating the strain on the system, it has been estimated that approximately

  5,900 of these ballots, over 3% of those cast, were rejected. This massive increase

  of provisional ballots in the general election will, in turn, cause increased lines and

  wait times, and it will inhibit the State’s ability to properly process each and every

  provisional ballot. It is no surprise that local election officials are sensing voter

  confusion and apprehension on the ground as a result of this hybrid mail-provisional

  ballot system. See Karin Price Mueller, If you vote in person on Election Day, your

  vote probably won’t be counted until Nov. 10 in N.J. Here’s why, NJ.com (Oct. 5,

  2020), https://bit.ly/3jWoDeZ (reporting “a lot of confusion and apprehension about

  the changes that have been made due to the ongoing pandemic”). Because it will be


                                             19
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 25 of 27 PageID: 2095




  impossible for county officials to properly inventory, transport, and canvas that

  volume of provisional ballots according to the statutorily prescribed processes,

  county officials will be forced to adopt their own alternative procedures for

  processing the ballots. Doc. 33 ¶¶ 129-135; see also O’Dea, Why So Many Mail-In

  Ballots Were Rejected in NJ’s July Primary Election. Hint: Many Arrived Late

  (“[I]t’s hard to have proper oversight from the state for things that there should be

  oversight about. This is the type of thing where, if you have a county that’s a clear

  outlier, there should be a way to look into that, to say, ‘Hey what’s going on?’”).

  And A4475 provides no “minimal procedural safeguards” to protect against the

  “unequal evaluation” of provisional ballots by local officials responding to this

  inevitable crisis in varying ways. See Bush, 531 U.S. at 109. Making matters worse,

  the Secretary of State’s office insists it doesn’t even “have the authority to order

  county officials to change some of their methods.” O’Dea, Why So Many Mail-In

  Ballots Were Rejected in NJ’s July Primary Election. Hint: Many Arrived Late. This

  will result in New Jersey’s counties “us[ing] varying standards to determine what

  [i]s a legal [provisional] vote,” contrary to the Equal Protection Clause. Bush, 531

  U.S. at 107.

        DCCC’s only response is that Plaintiffs’ assertions are speculative. Doc. 71-

  1, at 23-24. But the Complaint alleges that there will be an unprecedented influx in

  provisional ballots that will overwhelm local election officials. Indeed, events have


                                            20
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 26 of 27 PageID: 2096




  borne out Plaintiffs’ allegations. Election officials and activists on the ground are

  already reporting problems resulting from the lack of uniform standards, one of

  whom observed that “decentralization of elections in the state contributes to electoral

  problems, including in the design of ballots, recruitment of poll workers and

  rejection of ballots.” O’Dea, Why So Many Mail-In Ballots Were Rejected in NJ’s

  July Primary Election. Hint: Many Arrived Late. Such disparate approaches led to

  wildly differing levels of rejected ballots across counties in the primary. And no

  procedural safeguards have been implemented to prevent this eminently foreseeable

  disaster. That is all that is required; a plaintiff needs to allege only “enough facts to

  state a claim to relief that is plausible on its face.” Iqbal, 556 U.S. at 697.

                                     CONCLUSION
        For these reasons, the Court should deny DCCC’s motion to dismiss.




  Dated: October 9, 2020                            Respectfully submitted,




                                               21
Case 3:20-cv-10753-MAS-ZNQ Document 77 Filed 10/09/20 Page 27 of 27 PageID: 2097




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                                        22
